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                                                                                             Partner
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                                                      June 5, 2023

VIA EMAIL, FIRST CLASS AND CERTIFIED MAIL:
Cynthia Buckley
55201 West Club Circle, Unit 103
Boca Raton, FL 33487
E-Mail: Edwriter10@gmail.com

       RE:      San Remo Golf & Tennis Club Condominium Association, Inc. (the “Association”)/ Cynthia
                Buckley – Unit 103 (the “Unit”); Response to Request for Reasonable Accommodation to the
                Association’s No-Pet Policy

Dear Ms. Buckley:

       Please be advised that the undersigned Firm represents the interests of San Remo Golf & Tennis Club
Condominium Association, Inc. (the "Association") in connection with its general legal matters. In our capacity
as counsel to the Association, we have received information and documents forwarded to the Association in
support of your request to maintain an emotional support animal (herein after referenced to as an “assistance
animal”,) in the Unit located within San Remo Golf & Tennis Club Condominium. While in the process of
reviewing the information provided in support of your request, the Association received additional information
from your fellow neighbors indicating that you had allegedly disclosed to various individuals that you recently
purchased the dog for your child, in contradiction to the information provided to the Association. Please be
advised that these allegations and the conflicting information received by the Association raises serious
concerns as to the legitimacy of your request for a reasonable accommodation.

        According to the U.S. Department of Housing and Urban Development, there is currently no recognized
assistance animal registration program recognized under the ADA or FHA. Notwithstanding, as set forth in the
FHEO Notice No.: FHEO-2020-01 issued on January 28, 2020, some websites sell certificates, registrations,
and licensing documents for assistance animals to anyone who answers certain questions or participates in a
short interview and pays a fee. Under the Fair Housing Act, a housing provider may request reliable
documentation when an individual requesting a reasonable accommodation has a disability and disability-
related need for an accommodation that is not obvious or otherwise known. However, HUD notes that in its
experience, such documentation from the internet is not, by itself, sufficient to reliably establish that an
individual has a non-observable disability or disability-related need for an assistance animal. Furthermore, HUD
explicitly states that healthcare providers must possess personal knowledge regarding their patients'
disabilities and associated requirements prior to endorsing such requests.

        Please be advised that the law also states that there can be criminal penalties if a person falsifies
information or documents, or knowingly provides fraudulent information or documents, to support an
emotional support animal request, or who otherwise knowingly and willfully misrepresents their disability
status or needs, commits a misdemeanor offense in the second degree.
                                                                                                       EXHIBIT 5
 Presidential Circle | 4000 Hollywood Blvd., Ste. 265-S | Hollywood, FL 33021 | Phone: 954.894.8000 | Fax: 954.894.8015
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         After careful consideration and based on a totality of the circumstances, including the Association being
advised of the original intent of the obtaining the dog and alleged misrepresentation regarding same, the
Association has requested that we communicate to you the Board’s decision to deny your request for a
reasonable accommodation to the Association’s pet policy. Please note that we have been made aware that you
have already brought the puppy onto the Unit without obtaining the Association’s approval to your request for
an accommodation. We must emphasize that the Association has a strict "no pet" policy in place, which applies
to all residents and units within the Condominium. The presence of the dog on the premises is in violation of
the Association's governing documents. Therefore, it is imperative that you immediately remove the dog from
the Unit and comply with the Association's governing documents. Failure to comply with the Association’s no
pet policy may result in further actions being taken by the Association, including but not limited to fines,
penalties, and/or legal proceedings.

        PLEASE GOVERN YOURSELF ACCORDINGLY.

                                              Sincerely,



                                              ALESSANDRA STIVELMAN, ESQ.
                                              Partner
                                              For the Firm
AS:JC

cc: Association
